
312 S.W.3d 487 (2010)
R.L.G. by his Next Friend David Ray GOULD, and
David Ray Gould, Individually, Plaintiffs/Respondents,
v.
Rachael DICKENS, Defendant/Appellant.
No. ED 93199.
Missouri Court of Appeals, Eastern District, Division Two.
June 8, 2010.
Joseph R. Aubuchon, Union, MO, for Respondents.
Brian H. May, Clayton, MO, for Appellant.
Before SHERRI B. SULLIVAN, P.J., ROBERT G. DOWD, JR., J., and PATRICIA L. COHEN, J.
Prior report: 143 S.W.3d 639.

ORDER
PER CURIAM.
Rachael Dickens appeals from the trial court's Judgment of Paternity (Judgment) awarding her and David Gould joint physical and legal custody of their minor child (Child). We have reviewed the briefs of the parties and the record on appeal and conclude the trial court's judgment is supported by substantial evidence, is not against the weight of the evidence, and does not erroneously declare or apply the law. Loumiet v. Loumiet, 103 S.W.3d 332, 336 (Mo.App. W.D.2003). An extended opinion would have no precedential value. *488 We have, however, provided a memorandum setting forth the reasons for our decision to the parties for their use only. We affirm the judgment pursuant to Missouri Rule of Civil Procedure 84.16(b).
